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04

05                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
06                                       AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )
08         Plaintiff,                     )
                                          )             Case No. CR05-0261-RSM
09         v.                             )
                                          )
10   VERONICA HENDERSON,                  )             DETENTION ORDER
                                          )
11         Defendant.                     )
     ____________________________________ )
12
     Offense charged:
13
            Conspiracy to use unauthorized credit card access devices in violation of 18 U.S.C. §§
14
     1029(b)(2) and 3147(1).
15
            Date of Detention Hearing: July 22, 2005
16
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
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     that no condition or combination of conditions which defendant can meet will reasonably assure
19
     the appearance of defendant as required and the safety of other persons and the community.
20
           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            (1)     The Pretrial Services Report of July 21, 2005, reveals that defendant has a
22
     criminal record history of numerous offenses, and currently is in custody on a conviction from
23
     the Western District of Pennsylvania.
24
            (2)     Defendant is viewed as a risk of danger due to her criminal history and the nature
25
     of the pending charges.
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (3)    There appear to be no conditions or combination of conditions that will

02 reasonably assure the defendant’s appearance at future Court hearings.

03          (4)    Defendant has stipulated to detention, but reserves the right to contest her

04 continued detention if there is a change in circumstances.

05          IT IS THEREFORE ORDERED:

06          (1)    Defendant shall be detained pending trial and committed to the custody of the

07                 Attorney General for confinement in a correction facility separate, to the extent

08                 practicable, from persons awaiting or serving sentences or being held in custody

09                 pending appeal;

10          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

11                 counsel;

12          (3)    On order of a court of the United States or on request of an attorney for the

13                 government, the person in charge of the corrections facility in which defendant

14                 is confined shall deliver the defendant to a United States Marshal for the purpose

15                 of an appearance in connection with a court proceeding; and

16          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

17                 counsel for the defendant, to the United States Marshal, and to the United States

18                 Pretrial Services Officer.

19
                   DATED this 22nd day of July, 2005.


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21
                                                         JAMES P. DONOHUE
22                                                       United States Magistrate Judge
23

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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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